§§ Case 2:05-cr-20203-.]DB Document 11 Filed 06/03/05 Page 1 of 2 Page|D 25

HI.ED FJY._, _»/&_ _ _.._ ___D.C.

UNITED sTATEs DISTRICT coURT 95 JUH_,S wm 51*

oath 1'1. 31 H"L`rop
Robert. R. Di Trolic Memp”n%q< U"SS
Clerk of Court G`¥P TNBdT-E§§ 3?§§!?13
J:Ckson 901- 427- 6585
Fa‘x 901-427-9210

DATE: March 16, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:05cr20203 B/P
UNITED STATES OF AMERICA vs. Kathryn Bowers

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, arrest warrant executed, minutes of initial appearance hearing,
acknowledgment of receipt and right of notice and explanation of rights,
waiver of Rule 5 & 5.1 hearings, order setting conditions of release and
order that dft appear in district of prosecution,as to the above-named
defendant, have been received from the United States District Court, Middle
District of Tennessee. Please refer to document #10 in the case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

/
BY= -/

f Depfity Cler.’.i:

 

cc: Mag. Tu M. Pham
Casemanager

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UNITED sTATE onlle COURT - WESRNTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

